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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             MEMORANDUM DECISION
v.                                                               AND ORDER

TREILA SHUMWAY,                                                 Case No. 2:08CR671DAK

                       Defendant.




       Defendant Treila Shumway has filed a motion for early termination of her supervised

release. On June 11, 2010, Defendant was sentenced to four months incarceration with the

Bureau of Prisons and twelve months of supervised release. Defendant has been serving

supervised release since November 2010. Therefore, her term of supervised release is not

scheduled to terminate until November 2011.

       Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” Thus, the court can only terminate a period of supervised release after the

termination of at least one year. Because Defendant’s term of supervised release is only one

year, the court cannot grant early termination. Defendant’s motion for early termination of
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supervised release is DENIED.

       DATED this 12th day of September, 2011.



                                         DALE A. KIMBALL
                                         United States District Judge




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